Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 1 of 18 PageID 1



                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


  JESSE CARTER, individually and                          CASE NO.:
  on behalf of all others similarly situated,
                                                          CLASS ACTION
           Plaintiffs,
  v.

  GREEN CASH, LLC, a foreign corporation,
  and WB SERVICES, LLC, a foreign corporation,

        Defendants.
  ___________________________________/

         COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
    UNDER THE TELEPHONE CONSUMER PROTECTION ACT (TCPA) AND
                    DEMAND FOR JURY TRIAL

          Plaintiff JESSE CARTER (“Plaintiff” or “Mr. Carter”), on behalf of himself and

 all others similarly situated, alleges the following:

                                      INTRODUCTION

 1. Plaintiff, individually and on behalf of all others similarly situated, brings this action

       for damages, and other legal and equitable remedies, resulting from the illegal actions

       of GREEN CASH, LLC (“Green Cash”) and WB SERVICES, LLC (“WB” and

       collectively “Defendants”) in contacting Plaintiff on Plaintiff’s cellular telephone in

       direct contravention and violation of the Telephone Consumer Protection Act, 47

       U.S.C. § 227 et seq. (hereinafter “TCPA”), thereby invading Plaintiffs’ privacy.

 2. The TCPA prohibits, among other practices, 1) sending unsolicited text messages (or

       “SMS” messages) to cellular telephones without prior express consent within the

       meaning of the TCPA, 2) sending text messages to phone numbers registered on the

       National Do-Not-Call List in contravention of 47 C.F.R. § 64.1200(c)(2) and 3)
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 2 of 18 PageID 2



    sending text messages without an internal do-not-call procedure conforming to the

    minimum requirements as set by 47 C.F.R. § 64.1200(d). Plaintiff alleges as follows

    upon personal knowledge as to himself and his own acts and experiences, and, as to

    all other matters, upon information and belief, including investigation conducted by

    his attorneys.

                             JURISDICTION AND VENUE

 3. This Court has jurisdiction under 28 U.S.C. § 1331. This case involves a question of

    Federal law, 47 U.S.C. § 227, et seq. (TCPA). Damages and injunctive relief are

    available under 47 U.S.C. § 227(b)(3).

 4. Venue is proper in this District because Defendants engage in business in this district

    and a substantial part of the events or omissions giving rise to this claim occurred

    here and because Defendants market its services within this District and is subject to

    personal jurisdiction herein. Further, Defendants’ tortious conduct against Plaintiff

    occurred within the State of Florida and, on information and belief, Defendants have

    sent the same text messages complained of by Plaintiff to other individuals within this

    judicial district, such that some of Defendants’ acts in making such calls have

    occurred within this district, subjecting Defendants to jurisdiction in the State of

    Florida.

                                         PARTIES

 5. Plaintiff is a natural person who, at all times relevant herein, is and was a resident of

    and domiciled in Seminole County, Florida and is a Florida citizen. Mr. Carter is, and

    all times mentioned herein was, a “person” as defined by 47 U.S.C. § 153(39).




                                              2
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 3 of 18 PageID 3



 6. Upon information and belief, Plaintiff alleges that Defendant GREEN CASH is a

    corporation incorporated in Wyoming, with a principal place of business in

    California. Defendant is, and at all times mentioned herein was, a “person” as defined

    by 47 U.S.C. § 153 (39).

 7. Upon information and belief, Plaintiff alleges that Defendant WB is a corporation

    incorporated in and with a principal place of business in California. Defendant is, and

    at all times mentioned here in was, a “person as defined by 47 U.S.C. § 153 (39).

 8. Upon information and belief, Plaintiff alleges Defendants are in the online payday

    loan industry, and aggressively (and illegally) markets its services and engages in

    business in Florida and all other states. As a part of its business, Defendants own and

    operate numerous websites designed to elicit loan applications.

 9. Defendants are agents or alter egos or subsidiaries/parents of each other, and the acts

    described herein were conducted by or on behalf or at the direction of both

    Defendants – along with other various holding companies or agents or alter egos –

    pursuant to a common marketing scheme to the benefit of both Defendants.

 10. Defendant WB has previously represented that it is either a wholly-owned subsidiary

    or a brand of Defendant GREEN CASH.

               THE TELEPHONE CONSUMER PROTECTION ACT

 11. Congress enacted the Telephone Consumer Protection Act, 47 U.S.C. § 227 ​et seq​.

    (“TCPA”), in response to a growing number of consumer complaints regarding

    certain telemarketing practices.

 12. Consistent with its purpose, the TCPA regulates, among other things, the use of

    prerecorded messages and use of text or “SMS” messaging. The TCPA was designed


                                             3
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 4 of 18 PageID 4



    to prevent calls like the ones described within this complaint and to protect of the

    privacy of citizens. “Voluminous consumer complaints about abuses of telephone

    technology…prompted Congress to pass the TCPA.” ​Mims v. Arrow Fin. Servs.,

    LLC,​ 132 S. Ct. 740, 744 (2012).

 13. By enacting the TCPA, Congress made particular and specific findings that

    “[t]echnologies that might allow consumers to avoid receiving such calls are not

    universally available, are costly, are unlikely to be enforced, or place an inordinate

    burden on the consumer.” TCPA, Pub.L. No. 102-243. § 7.

 14. To effectuate such findings, Congress found that, except in “emergency situations” or

    where the receiving party consents to such calls, “[b]anning…automated or

    prerecorded telephone calls…is the only effective means of protecting telephone

    consumers from this nuisance and privacy invasion.” ​Id.​ at § 12; ​see also Martin v.

    Leading Edge Recovery Solutions, LLC​, 2012 WL 3292838 at* 4 (N.D. Ill. Aug. 10,

    2012)(citing Congressional findings on TCPA’s purpose); ​Lardner v. Diversified

    Consultants Inc.​, 17 F.Supp.3d 1215 (S.D. Fla. 2014)(Same).

 15. Specifically, Congress found that “the evidence presented to Congress indicates that

    automated or prerecorded calls are a nuisance and an invasion of privacy, regardless

    of the type of call….” ​Id​. At §§ 12-13. ​See also, Mims, 132 S. Ct. at 744.

 16. Relevant to the present case, the FCC issued a declaratory opinion in June 2015

    confirming, among other things, that 1) internet-to-phone text messages require

    consumer consent; and 2) text messages are “calls” subject to the TCPA, reaffirming

    a previous declaratory opinion. ​Rules & Regulations Implementing the Tel.

    Consumer Prot. Act of 1991​, 30 F.C.C. Red 7961(2015).


                                              4
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 5 of 18 PageID 5



 17. Despite the prohibitions in the TCPA, automated and telemarketing calls thrived,

        prompting the U.S. Federal Trade Commission (FTC) to open the National Do Not

        Call Registry in order to comply with the Do-Not-Call Implementation Act of 2003

        15 U.S.C. § 6101 et. seq.) (“DNC”). The DNC was signed into law by President

        George W. Bush on March 11, 2003. The DNC established the FTC’s National Do

        Not Call Registry (“DNC List” or “Do Not Call List”) to facilitate compliance with

        the TCPA. On June 26, the FCC revised the TCPA rules and adopted new rules to

        provide consumers with several options for avoiding unwanted telephone solicitations

        including the DNC List. In re Rules & Regulations Implementing the Tel. Consumer

        Prot. Act of 1991, 2003 FCC LEXIS 3673, *1, 18 FCC Rcd 14014, 29 Comm. Reg.

        (P & F) 830 (F.C.C. June 26, 2003)​. Registration for the Do-Not-Call list began on

        June 27, 2003, and enforcement started on October 1, 2003.

 18. “Since 2009, the FTC has seen a significant increase in the number of illegal sales

        calls….. Internet powered phone systems make it cheap and easy for scammers to

        make illegal calls from anywhere in the world, and to display fake caller ID
                                                                              1
        information, which helps them hide from law enforcement.”

 19. In addition to being required to check numbers against the ​national DNC list,

        companies are required to maintain ​internal do not call lists. The FCC rules allow

        consumers to make “do-not-call” requests that companies must track in internal

        do-not-call lists. 47 C.F.R. § 64.1200(c); 16 C.F.R. § 310.4(b)(1)(iii)(B).

        Telemarketers must provide consumers with an automated opt-out mechanism that

        “must automatically record the called person’s number to the seller’s do-not-call list



 1
     ​https://www.consumer.ftc.gov/articles/0108-national-do-not-call-registry (Last Checked March 27, 2018).
                                                       5
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 6 of 18 PageID 6



    and immediately terminate the call.” 47 C.F.R. 64.1200(b)(3). This mechanism was

    enacted to empower consumers to “stop receipt of unwanted autodialed or

    prerecorded telemarketing calls to which they never consented.” Telephone

    Consumer Protection Act of 1991, Final Rule, 77 Fed. Reg. 34233, 34239 (June 11,

    2012).

 20. 47 U.S.C. § 227(b) proscribes telemarketing activities utilizing automated equipment.

    47 U.S.C. § 227(c) proscribes telemarketing activities related to privacy rights not

    limited to the use of automated equipment.

 21. 47 U.S.C. § 227(c) instructed the Commission to create and implement rules and

    regulations effectuating congressional purposes. Those rules and regulations are

    found at 47 C.F.R. § 64.1200.

 22. The T.C.P.A. creates a private right of action for violations of Section 227(b):

 (3) PRIVATE RIGHT OF ACTION.—A person or entity may, if
                 otherwise permitted by the laws or rules of court of a State,
                 bring in an appropriate court of that State—
 (A) an action based on a violation of this subsection or the regulations
                 prescribed under this subsection to enjoin such violation,
 (B) an action to recover for actual monetary loss from such a violation, or
                 to receive $500 in damages for each such violation,
                 whichever is greater, or
                 (C) both such actions.
 If the court finds that the defendant willfully or knowingly violated this
                 subsection or the regulations prescribed under this
                 subsection, the court may, in its discretion, increase the
                 amount of the award to an amount equal to not more than 3
                 times the amount available under subparagraph (B) of this
                 paragraph.

        As well as Section 227(c):

 (5) PRIVATE RIGHT OF ACTION.—A person who has received more
             than one telephone call within any 12-month period by or
             on behalf of the same entity in violation of the regulations
             prescribed under this subsection may, if otherwise

                                              6
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 7 of 18 PageID 7



                permitted by the laws or rules of court of a State bring in an
                appropriate court of that State—.
 (A) an action based on a violation of the regulations prescribed under this
                subsection to enjoin such violation,
 (B) an action to recover for actual monetary loss from such a violation, or
                to receive up to $500 in damages for each such violation,
                whichever is greater, or
                (C) both such actions.

                               FACTUAL ALLEGATIONS

 23. Plaintiff fully incorporates by reference the preceding paragraphs.

 24. GREEN CASH is an online payday loan company, and elicits loan applications,

    which it then provides to third-party lenders for a commission or finder's fee. As a

    part of its business practice, GREEN CASH owns and operates multiple websites

    under various names and URLs, all of which conducts essentially the same practice –

    eliciting loan applications.

 25. Defendant WB conducts the same aforementioned business practices. Among the

    online   payday loan      application websites WB owns and/or operates are

    nocashpayment.com, 45cash.com, 5000cash.com, and 1000cash.com.

 26. Defendant WB has previously represented that it is a wholly-owned subsidiary and/or

    agent and/or brand of Defendant GREEN CASH.

 27. Defendants also own or control various other entities as a part of its online payday

    loan application business, including, but not limited to, Nesmetaju LLC and White

    Rocks Loans.

 28. To solicit online payday loan applications as a part of its exploitative business

    practice, Defendants enact a scheme whereby it telemarkets via spam phone calls and

    text messages sent from an Automated Telephone Dialing System (“ATDS”) in

    violation and contravention of the TCPA.

                                              7
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 8 of 18 PageID 8



 29. Defendant’s spam text messages are designed to solicit consumers to visit its website

    and submit loan applications, which are then transmitted to third-party lenders for a

    fee, who then lend money to vulnerable consumers at usurious and injurious rates.

 30. Defendant’s business model is entirely predicated on its spam and abusive

    telemarketing techniques.

 31. At no time did Plaintiff provide his cellular telephone numbers to Defendant through

    any medium or consent to the unsolicited and illegal spam text messages.

 32. On or about February 9, 2019, Plaintiff received an unsolicited text message from

    Defendants advertising their website and marketing the availability of a loan for

    “$5000” and soliciting Plaintiff to submit a loan application via a website represented

    as unitedstatecashonline.com. Nowhere was Plaintiff identified nor was his name

    used in any form.

 33. The generic and impersonal nature of the message demonstrates and indicates that

    Defendants transmitted the text via an ATDS. ​See ​Jenkins v. LL Atlanta, LLC​, No.

    1:14-cv-2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016)

    (“These assertions, combined with the generic, impersonal nature of the text message

    advertisements and the use of a short code, support an inference that the text

    messages were sent using an ATDS.”) (​citing ​Legg v. Voice Media Grp., Inc.​, 20 F.

    Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer text

    messages were sent using ATDS; use of a short code and volume of mass messaging

    alleged would be impractical without use of an ATDS); ​Kramer v. Autobytel, Inc.​,

    759 F. Supp. 2d 1165, 1171 (N.D. Cal. 2010) (finding it "plausible" that defendants

    used an ATDS where messages were advertisements written in an impersonal manner


                                             8
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 9 of 18 PageID 9



    and sent from short code); ​Hickey v. Voxernet LLC​, 887 F. Supp. 2d 1125, 1130;

    Robbins v. Coca-Cola Co.​, No. 13-CV-132-IEG NLS, 2013 U.S. Dist. LEXIS 72725,

    2013 WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing that mass messaging

    would be impracticable without use of an ATDS)).

 34. The texts were transmitted via a telephone number owned by Neutral

    Tandem-Montana, LLC, a communications company that provides services via

    “Neutral Tandem,” a system of data transmission that incorporates various carriers

    and networks – a “network of networks” so to speak. A part of its services is

    providing “block numbers” such as the number which transmitted the text.

 35. The number is also a VoIP, which is a technology allowing users to place calls or

    texts using a broadband internet connection rather than a regular or analog line.

 36. The use of a third party neutral tandem network and a VoIP number – using an

    internet connection rather than a designated or regular phone number or landline – is

    further indicia of the mass transmission and use of an automated delivery system and

    ATDS.

 37. The texts, described above, was unsolicited and unexpected by Plaintiff. Plaintiff,

    prior to the receipt of the spam text message, had not provided his cellular telephone

    number to Defendants.

 38. Through this conduct, Defendants contacted Plaintiff on Plaintiff’s cellular telephone

    regarding an unsolicited service via an “automatic telephone dialing system”

    (“ATDS”) as defined by 47 U.S.C. § 227(a)(1) and prohibited by 47 U.S.C. §

    227(b)(1)(A).




                                             9
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 10 of 18 PageID 10



   39. The telephone numbers Defendants called were assigned to a cellular telephone

      service pursuant to 47 U.S.C. § 227(b)(1).

   40. The telephone numbers Defendants called were assigned to numbers for which

      Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

   41. The unsolicited text message constitutes a call that was not for emergency purposes

      as defined by 47 U.S.C. § 227(b)(1)(A)(i), and for which they did not receive consent,

      pursuant to 47 U.S.C. § 227(b)(1)(A).

   42. The text message sent by Defendants, or its agent, described above violated 47 U.S.C.

      § 227(b)(1).

   43. Alternatively, Defendants enlisted a third-party telemarketing company to act as its

      agent in sending the unsolicited text messages.

   44. Defendants and/or its agent sent or are responsible for sending the text messages at

      issue in this Complaint, including the text message sent to Plaintiff, all of which

      violated the TCPA.

   45. The text message weas “advertisement[s]” in that the messages were material

      advertising the commercial availability or quality of Defendants’ property, goods or

      services – namely, Defendants’ online payday loan application services. 47 C.F.R. §

      64.1200(f)(1).

   46. Defendants are a seller because they are persons or entities on whose behalf telephone

      messages were initiated to encourage the use of Defendants’ business services. 47

      C.F.R. § 64.1200(f)(9).




                                              10
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 11 of 18 PageID 11



   47. Defendants are telemarketers because they are persons or entities that initiated the

      telephone messages to encourage the use of Defendants’ goods or services or

      property. 47 C.F.R. § 64.1200(f)(11).

   48. Defendants failed to meet the meet the minimum standards of 47 C.F.R. § 64.1200(d)

      by lacking:

   (1) A written policy for maintaining a do-not-call list.

                    (2) Training of personnel in the existence and use of the do-not-call list.

                    (3) Recording, disclosure of do-not-call requests.

                    (4) Identification of sellers and telemarketers.

                    (5) Maintenance of do-not-call lists.

   49. The rules set forth in 47 C.F.R. § 64.1200(d) are applicable to Defendant​s because the

      text messages ​were telephone solicitations to wireless telephone numbers to the

      extent described in the Commission’s Report and Order, CG Docket No. 02-278,

      FCC 03-153, “Rules and Regulations Implementing the Telephone Consumer

      Protection Act of 1991.” 47 C.F.R. § 64.1200(e).

   50. Defendants sent Plaintiff the text messages notwithstanding the fact that Plaintiff

      never provided his cellular telephone number to Defendant nor gave any consent to

      receive phone calls or text messages from Defendants.

   51. Through this conduct, Defendants contacted Plaintiff on Plaintiff’s cellular telephone,

      thereby invading their privacy, with unsolicited telemarketing text messages

      prohibited by 47 U.S.C. § 227(c)(1)(A) and ​47 C.F.R. § 64.1200(c)​.

                               CLASS ACTION ALLEGATIONS

   52. Plaintiff fully incorporate by reference paragraphs 1-22, 24-51.


                                                  11
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 12 of 18 PageID 12



   53. Plaintiff brings this action on behalf of himself individually and all others similarly

      situated.

   54. Defendants send unsolicited text messages without express, prior consent and not

      pursuant to an ongoing emergency, as described herein.

   55. Plaintiff individually represents and is a member of the following Class consisting of:

                  “All persons within the United States who received one or
                  more text messages from Defendants pursuant to a scheme
                  substantially similar or identical to the text messaging
                  scheme described in this Complaint via an ATDS between
                  February 12, 2015, and the certification of this class.”

   56. Defendants and their employees or agents are excluded from the Class. Plaintiff does

      not currently know the number of members in the Class, but, upon information and

      belief, as well as the investigation of his attorneys, believes the number to be in the

      thousands or tens of thousands, and perhaps more. Thus, this matter should be

      certified as a Class action to assist in the expeditious litigation of this matter.

   57. The text messages were sent pursuant to a common telemarketing scheme for which

      Defendants did not obtain the necessary consent required by the TCPA and its

      delivery restrictions in 47 C.F.R. § 64.1200(a).

   58. Whether or not the unsolicited text messages were sent via ATDS, the unsolicited text

      messages were sent pursuant to a common telemarketing scheme during which

      Defendants did not comply with and thus violated the telemarketing restrictions of the

      TCPA and its telephone solicitation restrictions in 47 C.F.R. § 64.1200(c)-(e).

   59. The telephone numbers Defendants called were assigned to a cellular telephone

      service. 47 U.S.C. § 227(b)(1).




                                                 12
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 13 of 18 PageID 13



   60. Each unsolicited text message was a call that was not for emergency purposes as

      defined by 47 U.S.C. § 227(b)(1)(A)(i) and ​47 C.F.R. § 64.1200 ​and for which

      Defendants did not receive prior consent, as required by 47 U.S.C. § 227(b)(1)(A)

      and ​47 C.F.R. § 64.1200​.

   61. The unsolicited text messages were ​telephone calls that “includes or introduces an

      advertisement or constitutes telemarketing” pursuant to 47 C.F.R. § 64.1200(a)(2).

   62. Plaintiff and the members of the Class were harmed by actions of Defendant in at

      least, but not limited to, the following ways: Defendant, either directly or through its

      agents, illegally contacted the Plaintiffs and the Class members via their cellular

      telephones by using an unsolicited spam text message(s), thereby invading the

      privacy of Plaintiffs and the Class members and causing other harms recognized by

      TCPA regulations and courts interpreting such regulations. Plaintiff and the Class

      members were thereby damaged.

   63. This suit, on behalf of the Class, seeks damages and injunctive relief for recovery of

      economic injury only. This suit is not intended to procure recovery for personal injury

      and/or related claims. Plaintiff reserves the right to modify or expand the Class

      definition to seek recovery on behalf of additional persons as warranted through

      further investigation and discovery.

   64. The joinder of the Class members is impractical and the disposition of their claims in

      the Class action will provide substantial benefits to both parties and to this Court. The

      Classes can be specifically identified through Defendants’ records, or through the

      records of Defendant’s agent(s), or through the records of third-party carriers.




                                               13
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 14 of 18 PageID 14



   65. The commonality in questions of law and fact and the intersecting community of

      interests protected by the TCPA therein have been repeatedly established. The

      common questions of law and fact to the Class predominate over questions which

      may affect individual Class members, including, but not limited to, the following:

          a. Whether, within the four years prior to the filing of the Complaint, Defendants

             or its agents sent any unsolicited text message(s) to the Class (other than, as

             previously mentioned, any message made for emergency purposes or with the

             prior express consent of the called party, or any other statutory exception)

             using any automatic dialing and/or SMS texting system to any telephone

             number assigned to a cellular phone service;

          b. Whether Defendants maintained Do Not Call lists, policies, and/or training;

          c. Whether consumers suffer injury where they receive unsolicited text messages

             from entities lacking required internal telemarketing procedures;

          d. Whether Plaintiff and the Class members were damaged, and the extent of

             damages for such violation, and;

          e. Whether Defendants and its agents should be enjoined from engaging in such

             conduct in the future;

          f. Whether Plaintiff and the Class are entitled to any other relief.

   66. As someone who received at least one unsolicited spam text message from Defendant

      without prior express consent, Plaintiffs are asserting claims that are typical of both

      Class. Plaintiffs will fairly and adequately represent and protect the interests of the

      Class, and has no interests antagonistic to any other member of the Class.




                                               14
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 15 of 18 PageID 15



   67. Plaintiff and the members of the Class have all suffered irreparable harm as a result of

      Defendant’s unlawful and wrongful conduct. Absent a class action, the Class will

      continue to face the potential for further harm. Additionally, these violations of law

      will be allowed to proceed without remedy and Defendants will thus likely continue

      such and substantially similar illegal conduct, including pertaining specifically to

      Plaintiff and the class. Because of the nature of individual Class member’s claims,

      few, if any, Class members could afford to seek legal redress for the wrongs

      complained of herein.

   68. Plaintiff has retained counsel experienced in handling class action claims, as well as

      claims involving violations of the TCPA.

   69. A class action is the best method for the fair, efficient adjudication of this

      controversy. Class-wide damages are essential to induce Defendant to comply with

      federal and state law. The interest of Class members to individually control the

      prosecution of separate claims against Defendant is small due to the minimal nature

      of the maximum statutory damages in a separate or individual action alleging

      invasion of privacy through violation of the TCPA.

   70. Management of these claims is likely to present significantly fewer difficulties than

      those presented in many class claims.

   71. Defendant has acted on grounds generally applicable to the Class, thus making

      appropriate final injunctive relief and corresponding declaratory relief with respect to

      the Class as a whole.

           COUNT I: VIOLATIONS OF THE TCPA 47 U.S.C. § 227 ET SEQ.
                       (on behalf of Plaintiff and the Class)

   72. Plaintiff fully incorporates by reference paragraphs 1-22, 24-51, 53-71.

                                               15
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 16 of 18 PageID 16



   73. The foregoing acts and omissions by Defendants and/or Defendants’ agent(s)

      constitute numerous and multiple violations of the TCPA, including but not limited to

      each and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.

   74. As a result of Defendants’ violations of 47 U.S.C. § 227 et seq., Plaintiff and the

      Class are entitled to an award of $500.00 in statutory damages for each and every

      violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

   75. Plaintiff and the Class are also entitled to and seek declaratory and injunctive relief

      prohibiting such conduct in the future.

   COUNT II: KNOWING AND/OR WILLFUL VIOLATIONS OF TCPA 47 U.S.C. §
                                227 ET SEQ.
                    (on behalf of Plaintiff and the Class)

   76. Plaintiff fully incorporates by reference paragraphs 1-22, 24-51, 53-71.

   77. The foregoing acts and omissions by Defendants and/or Defendants’ agent(s)

      constitute numerous knowing and/or willful violations of the TCPA, including, but

      not limited to, each and every one of the above-cited provisions of 47 U.S.C. § 227 et

      seq.

   78. As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. § 227 et

      seq., Plaintiff and the Class are entitled to an award of $1,500.00 in statutory damages

      for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

      227(b)(3)(C).

   79. Plaintiff and the Class are also entitled to and seek declaratory injunctive relief

      prohibiting such conduct in the future.




                                                16
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 17 of 18 PageID 17



                                    PRAYER FOR RELIEF

          Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and the Class

   members the following relief against Defendant:

                    Count I: Violations of the TCPA, 47 U.S.C. § 227 Et Seq.

      ● As a result of Defendants’ violations of 47 U.S.C. § 227 demonstrated herein,

          Plaintiff seeks for himself and each Class member $500.00 in statutory damages,

          for each and every violation.

      ● Pursuant to 47 U.S.C. § 227, injunctive relief prohibiting such conduct in the

          future.

      ● Any other relief the Court deems just and proper.

    Count II: Knowing and/or Willful Violations of the TCPA, 47 U.S.C. § 227 Et Seq.

      ● As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. § 227

          demonstrated herein, Plaintiff seeks for himself and each Class member $1,500.00

          in statutory damages, for each and every violation, pursuant to 47 U.S.C. § 227.

      ● Pursuant to 47 U.S.C. § 227, injunctive relief prohibiting such conduct in the

          future.

      ● Any other relief the Court deems just and proper.

                                       TRIAL BY JURY

          Pursuant to the Seventh Amendment to the Constitution of the United States of

   America, Plaintiff demands his right to a trial by jury.


   Dated February 26, 2019.                              Respectfully submitted,

                                                         /​ s/ Ed Normand
                                                         Edmund A. Normand
                                                         Fla. Bar No. 865590
                                                17
Case 6:19-cv-00378-RBD-GJK Document 1 Filed 02/26/19 Page 18 of 18 PageID 18



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